Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 1 of 123 Pageid#: 598




                           Exhibit E
                         Updated Inventory
          Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 2 of 123 Pageid#: 599




Confidential                                                                      ENVIGO_00001616
          Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 3 of 123 Pageid#: 600




Confidential                                                                      ENVIGO_00001617
          Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 4 of 123 Pageid#: 601




Confidential                                                                      ENVIGO_00001618
          Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 5 of 123 Pageid#: 602




Confidential                                                                      ENVIGO_00001619
          Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 6 of 123 Pageid#: 603




Confidential                                                                      ENVIGO_00001620
          Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 7 of 123 Pageid#: 604




Confidential                                                                      ENVIGO_00001621
          Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 8 of 123 Pageid#: 605




Confidential                                                                      ENVIGO_00001622
          Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 9 of 123 Pageid#: 606




Confidential                                                                      ENVIGO_00001623
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 10 of 123 Pageid#: 607




Confidential                                                                     ENVIGO_00001624
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 11 of 123 Pageid#: 608




Confidential                                                                     ENVIGO_00001625
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 12 of 123 Pageid#: 609




Confidential                                                                     ENVIGO_00001626
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 13 of 123 Pageid#: 610




Confidential                                                                     ENVIGO_00001627
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 14 of 123 Pageid#: 611




Confidential                                                                     ENVIGO_00001628
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 15 of 123 Pageid#: 612




Confidential                                                                     ENVIGO_00001629
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 16 of 123 Pageid#: 613




Confidential                                                                     ENVIGO_00001630
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 17 of 123 Pageid#: 614




Confidential                                                                     ENVIGO_00001631
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 18 of 123 Pageid#: 615




Confidential                                                                     ENVIGO_00001632
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 19 of 123 Pageid#: 616




Confidential                                                                     ENVIGO_00001633
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 20 of 123 Pageid#: 617




Confidential                                                                     ENVIGO_00001634
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 21 of 123 Pageid#: 618




Confidential                                                                     ENVIGO_00001635
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 22 of 123 Pageid#: 619




Confidential                                                                     ENVIGO_00001636
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 23 of 123 Pageid#: 620




Confidential                                                                     ENVIGO_00001637
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 24 of 123 Pageid#: 621




Confidential                                                                     ENVIGO_00001638
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 25 of 123 Pageid#: 622




Confidential                                                                     ENVIGO_00001639
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 26 of 123 Pageid#: 623




Confidential                                                                     ENVIGO_00001640
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 27 of 123 Pageid#: 624




Confidential                                                                     ENVIGO_00001641
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 28 of 123 Pageid#: 625




Confidential                                                                     ENVIGO_00001642
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 29 of 123 Pageid#: 626




Confidential                                                                     ENVIGO_00001643
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 30 of 123 Pageid#: 627




Confidential                                                                     ENVIGO_00001644
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 31 of 123 Pageid#: 628




Confidential                                                                     ENVIGO_00001645
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 32 of 123 Pageid#: 629




Confidential                                                                     ENVIGO_00001646
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 33 of 123 Pageid#: 630




Confidential                                                                     ENVIGO_00001647
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 34 of 123 Pageid#: 631




Confidential                                                                     ENVIGO_00001648
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 35 of 123 Pageid#: 632




Confidential                                                                     ENVIGO_00001649
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 36 of 123 Pageid#: 633




Confidential                                                                     ENVIGO_00001650
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 37 of 123 Pageid#: 634




Confidential                                                                     ENVIGO_00001651
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 38 of 123 Pageid#: 635




Confidential                                                                     ENVIGO_00001652
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 39 of 123 Pageid#: 636




Confidential                                                                     ENVIGO_00001653
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 40 of 123 Pageid#: 637




Confidential                                                                     ENVIGO_00001654
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 41 of 123 Pageid#: 638




Confidential                                                                     ENVIGO_00001655
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 42 of 123 Pageid#: 639




Confidential                                                                     ENVIGO_00001656
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 43 of 123 Pageid#: 640




Confidential                                                                     ENVIGO_00001657
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 44 of 123 Pageid#: 641




Confidential                                                                     ENVIGO_00001658
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 45 of 123 Pageid#: 642




Confidential                                                                     ENVIGO_00001659
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 46 of 123 Pageid#: 643




Confidential                                                                     ENVIGO_00001660
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 47 of 123 Pageid#: 644




Confidential                                                                     ENVIGO_00001661
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 48 of 123 Pageid#: 645




Confidential                                                                     ENVIGO_00001662
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 49 of 123 Pageid#: 646




Confidential                                                                     ENVIGO_00001663
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 50 of 123 Pageid#: 647




Confidential                                                                     ENVIGO_00001664
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 51 of 123 Pageid#: 648




Confidential                                                                     ENVIGO_00001665
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 52 of 123 Pageid#: 649




Confidential                                                                     ENVIGO_00001666
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 53 of 123 Pageid#: 650




Confidential                                                                     ENVIGO_00001667
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 54 of 123 Pageid#: 651




Confidential                                                                     ENVIGO_00001668
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 55 of 123 Pageid#: 652




Confidential                                                                     ENVIGO_00001669
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 56 of 123 Pageid#: 653




Confidential                                                                     ENVIGO_00001670
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 57 of 123 Pageid#: 654




Confidential                                                                     ENVIGO_00001671
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 58 of 123 Pageid#: 655




Confidential                                                                     ENVIGO_00001672
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 59 of 123 Pageid#: 656




Confidential                                                                     ENVIGO_00001673
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 60 of 123 Pageid#: 657




Confidential                                                                     ENVIGO_00001674
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 61 of 123 Pageid#: 658




Confidential                                                                     ENVIGO_00001675
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 62 of 123 Pageid#: 659




Confidential                                                                     ENVIGO_00001676
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 63 of 123 Pageid#: 660




Confidential                                                                     ENVIGO_00001677
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 64 of 123 Pageid#: 661




Confidential                                                                     ENVIGO_00001678
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 65 of 123 Pageid#: 662




Confidential                                                                     ENVIGO_00001679
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 66 of 123 Pageid#: 663




Confidential                                                                     ENVIGO_00001680
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 67 of 123 Pageid#: 664




Confidential                                                                     ENVIGO_00001681
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 68 of 123 Pageid#: 665




Confidential                                                                     ENVIGO_00001682
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 69 of 123 Pageid#: 666




Confidential                                                                     ENVIGO_00001683
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 70 of 123 Pageid#: 667




Confidential                                                                     ENVIGO_00001684
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 71 of 123 Pageid#: 668




Confidential                                                                     ENVIGO_00001685
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 72 of 123 Pageid#: 669




Confidential                                                                     ENVIGO_00001686
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 73 of 123 Pageid#: 670




Confidential                                                                     ENVIGO_00001687
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 74 of 123 Pageid#: 671




Confidential                                                                     ENVIGO_00001688
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 75 of 123 Pageid#: 672




Confidential                                                                     ENVIGO_00001689
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 76 of 123 Pageid#: 673




Confidential                                                                     ENVIGO_00001690
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 77 of 123 Pageid#: 674




Confidential                                                                     ENVIGO_00001691
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 78 of 123 Pageid#: 675




Confidential                                                                     ENVIGO_00001692
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 79 of 123 Pageid#: 676




Confidential                                                                     ENVIGO_00001693
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 80 of 123 Pageid#: 677




Confidential                                                                     ENVIGO_00001694
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 81 of 123 Pageid#: 678




Confidential                                                                     ENVIGO_00001695
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 82 of 123 Pageid#: 679




Confidential                                                                     ENVIGO_00001696
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 83 of 123 Pageid#: 680




Confidential                                                                     ENVIGO_00001697
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 84 of 123 Pageid#: 681




Confidential                                                                     ENVIGO_00001698
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 85 of 123 Pageid#: 682




Confidential                                                                     ENVIGO_00001699
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 86 of 123 Pageid#: 683




Confidential                                                                     ENVIGO_00001700
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 87 of 123 Pageid#: 684




Confidential                                                                     ENVIGO_00001701
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 88 of 123 Pageid#: 685




Confidential                                                                     ENVIGO_00001702
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 89 of 123 Pageid#: 686




Confidential                                                                     ENVIGO_00001703
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 90 of 123 Pageid#: 687




Confidential                                                                     ENVIGO_00001704
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 91 of 123 Pageid#: 688




Confidential                                                                     ENVIGO_00001705
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 92 of 123 Pageid#: 689




Confidential                                                                     ENVIGO_00001706
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 93 of 123 Pageid#: 690




Confidential                                                                     ENVIGO_00001707
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 94 of 123 Pageid#: 691




Confidential                                                                     ENVIGO_00001708
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 95 of 123 Pageid#: 692




Confidential                                                                     ENVIGO_00001709
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 96 of 123 Pageid#: 693




Confidential                                                                     ENVIGO_00001710
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 97 of 123 Pageid#: 694




Confidential                                                                     ENVIGO_00001711
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 98 of 123 Pageid#: 695




Confidential                                                                     ENVIGO_00001712
         Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 99 of 123 Pageid#: 696




Confidential                                                                     ENVIGO_00001713
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 100 of 123 Pageid#: 697




Confidential                                                                     ENVIGO_00001714
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 101 of 123 Pageid#: 698




Confidential                                                                     ENVIGO_00001715
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 102 of 123 Pageid#: 699




Confidential                                                                     ENVIGO_00001716
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 103 of 123 Pageid#: 700




Confidential                                                                     ENVIGO_00001717
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 104 of 123 Pageid#: 701




Confidential                                                                     ENVIGO_00001718
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 105 of 123 Pageid#: 702




Confidential                                                                     ENVIGO_00001719
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 106 of 123 Pageid#: 703




Confidential                                                                     ENVIGO_00001720
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 107 of 123 Pageid#: 704




Confidential                                                                     ENVIGO_00001721
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 108 of 123 Pageid#: 705




Confidential                                                                     ENVIGO_00001722
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 109 of 123 Pageid#: 706




Confidential                                                                     ENVIGO_00001723
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 110 of 123 Pageid#: 707




Confidential                                                                     ENVIGO_00001724
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 111 of 123 Pageid#: 708




Confidential                                                                     ENVIGO_00001725
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 112 of 123 Pageid#: 709




Confidential                                                                     ENVIGO_00001726
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 113 of 123 Pageid#: 710




Confidential                                                                     ENVIGO_00001727
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 114 of 123 Pageid#: 711




Confidential                                                                     ENVIGO_00001728
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 115 of 123 Pageid#: 712




Confidential                                                                     ENVIGO_00001729
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 116 of 123 Pageid#: 713




Confidential                                                                     ENVIGO_00001730
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 117 of 123 Pageid#: 714




Confidential                                                                     ENVIGO_00001731
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 118 of 123 Pageid#: 715




Confidential                                                                     ENVIGO_00001732
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 119 of 123 Pageid#: 716




Confidential                                                                     ENVIGO_00001733
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 120 of 123 Pageid#: 717




Confidential                                                                     ENVIGO_00001734
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 121 of 123 Pageid#: 718




Confidential                                                                     ENVIGO_00001735
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 122 of 123 Pageid#: 719




Confidential                                                                     ENVIGO_00001736
        Case 6:22-cv-00028-NKM Document 18-9 Filed 06/13/22 Page 123 of 123 Pageid#: 720




Confidential                                                                     ENVIGO_00001737
